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 JS 45(01/2008)                              REDACTED


 Criminal Case Cover Sheet                                                                                      U.S. District Court
Place of Offense:                         Under Seal:Yes       No X       Judge Assigned:      Hon. Liam O'Grady
 City                            Superseding Indictment                   Criminal Number: l:21-cr-100

County/Parish Arlington          ^Same Defendant           X              New Defendant
                                 Magistrate Judge Case Number l:21-MJ-50                     Arraignment Date:
                                 Search Warrant Case Number
                                R 20/R 40 from District of
                                Related Case Name and No:
Defendant Information;

Juvenile-Yes        No X      FBI#:            XXXXX3HB4

Defendant Name:AJANI,Robin N'Namdi                 Alias Name(s)
Address: Riverdale, GA
Employment:
Birth datexx/xx/1965 SS#                   Sex M DefRace       Black   Nationality                     Place of Birth

Height              Weight       Hair               Eyes                 Scars/Tattoos
Interpreter:        No       Yes List language and/or dialect                     Automobile Description
Location Status:

Arrest Date

   ^Already in Federal Custody as of                               m


   Already in State Custody            On Pretrial Release         X Not in Custody
   Arrest Warrant Requested           Fugitive                         Summons Requested
   Arrest Warrant Pending             ^Detention Sought            )C Bond
Defense Counsel Information:

Name:                                            Court Appointed             Counsel conflicted out:

Address:                                      X Retained
Telephone:                                       Public Defender           Federal Public Defender's Office conflicted out:
U.S. Attornev Information:

SAUSA Nicholas Schilling          Telephone No: 703-299-3784                   Bar#
Complainant Agencv. Address & Phone Number or Person & Title:

James R. Sobchack, Special Agent,FBI

U.S.C. Citations:

         Code/Section            Description of Offense Charged          Countfs)          Capital/Felonv/Misd/Pettv
                                 False Impersonation of an OfiBcer
Setl     18 U.S.C. §912          or Employee ofthe United States              1            Felony
Set2
Set 3

                                                  (May be continued on reverse)


Date: ^j27 ^1Z02.{                     Signature ofSAUSA:
